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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                               Judge Raymond P. Moore

Criminal Action No. 21-cr-00168-RM

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1. NORMAN W. FRIES, INC.,
   d/b/a CLAXTON POULTRY FARMS,
2. KOCH FOODS, INC.,

      Defendants.
_____________________________________________________________________________

         AMENDED ORDER GRANTING UNITED STATES’ UNOPPOSED
          MOTION TO DISMISS THE SOLE COUNT WITH PREJUDICE
                           AS TO ALL DEFENDANTS
______________________________________________________________________________

       This matter comes before the Court on the United States’ Unopposed Motion to Dismiss

the Sole Count with Prejudice as to All Defendants (ECF No. 70). The Court, being fully

advised, grants the government leave to dismiss this case, consistent with Fed. R. Crim. P. 48(a).

       Accordingly, it is ORDERED that the Motion is GRANTED and both the Indictment

(ECF No. 1) and the Superseding Indictment (ECF No. 30) in this case are dismissed with

prejudice.

       IT IS FURTHER ORDERED that, in light of the granting of the Motion, the trial and all

other settings are hereby vacated.

       DATED this 22nd day of September, 2022.

                                             BY THE COURT:



                                             ________________________________________
                                             RAYMOND P. MOORE
                                             United States District Judge
